

People v Brown (2023 NY Slip Op 00820)





People v Brown


2023 NY Slip Op 00820


Decided on February 14, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 14, 2023

Before: Acosta, P.J., Webber, Friedman, Kennedy, Higgitt, JJ. 


Ind No. 994/18 Appeal No. 17322 Case No. 2021-01713 

[*1]The People of the State of New York, Respondent,
vBrandon Brown, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Shaina R. Watrous of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (T. Charles Won of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Ethan Greenberg, J. at plea; Bahaati E. Pitt, J. at sentencing), rendered May 6, 2021, convicting defendant of attempted criminal possession of a weapon in the second degree, and sentencing him, as a second felony offender, to a term of four years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the order of protection's provision directing that it remain in effect until September 25, 2035 and remanding for a new determination of the order's duration, and otherwise affirmed.
We perceive no basis for reducing the sentence. However, as the People concede,
the order of protection's expiration date should be recalculated (see e.g. People v Natal, 200 AD3d 620 [1st Dept 2021]). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 14, 2023








